Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 1 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 2 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 3 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 4 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 5 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 6 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 7 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 8 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 9 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 10 of 11
Case 1:21-cr-00222-TFH Document 77 Filed 07/27/22 Page 11 of 11
